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                       UNITED STATES DISTRICT COURT

                            DISTRICT OF NEW JERSEY

 LINCOLN ADVENTURES, LLC, a               )   No. 2:08-cv-00235-CCC-JAD
 Delaware Limited Liability Company,      )
 and MICHIGAN MULTI-KiNG, INC.,           )   CLASS ACTION
 a Michigan Corporation, on Behalf of     )
 Themselves and All Those Similarly       )              ORDER
 Situated,                                )   PRELIMINARILY APPROVING
                                          )   PROPOSED PARTIAL CLASS
                            Plaintiffs,   )   ACTION SETTLEMENT AND
                                          )   PRELIMINARILY CERTIFYING A
             vs.                              CLASS FOR SETTLEMENT
                                          )
                                          )   PURPOSES
 THOSE CERTAIN UNDERWRITERS
 AT LLOYD’S, LONDON MEMBERS               )
 OF SYNDICATES, et al.                    )
                                          )
                       Defendants.        )
                                          )




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             IT IS HEREBY ORDERED, ADJUDGED AND DECREED AS

  FOLLOWS:

             1.   Settlement Class Findings. For purposes of the Settlement1 only (and

  without addressing the merits of Plaintiffs’ claims or the Settling Defendants’ or non-

  settling Defendants’ defenses), the Court preliminarily finds that the requirements of

 the Federal Rules of Civil Procedure, the United States Constitution, the Rules of the

 Court and any other applicable law have been met insofar as:

                  (a)   The identity of certain of the members of the Settlement Class

 defined in Section 2(b) below (the “Settlement Class Members”) is ascertainable from

 the records of the Settling Defendants, and the size of the Settlement Class is so

 numerous that their joinder before the Court would be impracticable. The Court

 therefore finds preliminarily that the numerosity requirement of Fed. R. Civ. P.

 23(a)(l) is satisfied for settlement purposes only.

                  (b)   Plaintiffs have alleged one or more questions of fact and law

 common to the Settlement Class, including whether the Settling Defendants violated

 RICO and state statutes and/or common law by allegedly engaging in a deceptive

 scheme to conceal the claimed lack of competition in the Lloyd’s London Market.

 Accordingly, based upon these allegations, the Court finds preliminarily that the



        Unless otherwise stated, all capitalized terms have the meaniiig given to them in
 the Stipulation of Partial Class Action Settlement (“Settlement Agreement”).


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  commonality requirement of Fed. R. Civ. P. 23(a)(2) is satisfied for settlement

 purposes only.

               (c)    Plaintiffs have alleged that the Settling Defendants engaged in

 uniform misconduct affecting Settlement Class Members. Based upon these

 allegations, the Court finds preliminarily that the claims of Plaintiffs are typical of the

 claims of the Settlement Class, and that Plaintiffs, along with Co-Lead Counsel and

 other Plaintiffs’ Counsel representing Plaintiffs, will fairly and adequately protect the

 interests of the Settlement Class. Accordingly, the Court finds preliminarily that the

 typicality and adequacy requirements of Fed. R. Civ. P. 23(a)(3) and (4) are satisfied

 for settlement purposes oniy.

               (d)   The Court finds preliminarily that, for settlement purposes only,

 questions of law or fact common to the Settlement Class Members predominate over

 questions affecting only individual members of the Settlement Class and that a class

 action resolution in the manner proposed in the Settlement Agreement would be

 superior to other available methods for a fair and efficient adjudication of the Lawsuit.

 Accordingly, the Court finds preliminarily that the requirements of Fed. R. Civ. P.

 23(b)(3) are satisfied for settlement purposes only.

              (e)    The Court does not address or make any findings herein as to

 whether a plaintiff class may be certified in the Action for any purpose other than for

 purposes of this Settlement.     This Order shall not be construed or used as an


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 admission, concession or declaration in the Action, including, but not limited to, any

 motion or request for certification of a plaintiff class in the Action.

             2.   Preliminary Certification of Settlement Class.

                  (a)   Based on the findings set forth in Section 1, above, the Court

 preliminarily certifies the Settlement Class under fed. R. Civ. P. 23(b)(3).

                  (b)   The class shall consist of all persons and entities in the United

 States (including its territories) who, between January 1, 1997, and March 25, 2019,

 purchased or renewed a Contract of Insurance with any Lloyd’s Syndicates named as

 a Defendant in the Action.        Excluded from the Settlement Class are Released

 Defendants, Defendants, defendants formerly named as such in the Action, all Lloyd’s

 syndicates, Opt-outs, and judges presiding over the Action and their immediate

 families (the “Settlement Class”).

                  (c)   Pursuant to Rule 23 of the Federal Rules of Civil Procedure, and

 for the purposes of the Settlement only, Plaintiffs are preliminarily certified as the

 Class Representatives, and Co-Lead Counsel is preliminarily certified as Class

 Counsel.

             3.   Findings Regarding Proposed Settlement. The Court finds that (a) the

 Settlement Agreement resulted from extensive arm’s-length negotiations conducted

 with the assistance of the Hon. Layn R. Phillips that were held after Plaintiffs’

 Counsel had conducted substantial discovery; and (b) the Settlement is sufficiently



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 fair, reasonable and adequate to wanant sending to Settlement Class Members notice

 of the Action, the Settlement Agreement, the Settlement and the Fairness Hearing.

             4.    Fairness Hearing. The Court hereby schedules the Fairness Hearing for

             Oe-     \      ,   2019, at )O 5DavvEastern Time, in Courtroom 5B of the

 Martin Luther King Building & U.S. Courthouse, 50 Walnut St., Newark, NJ 07101 to

 consider, among other things:

                   (a)   Whether the Settlement Class should be finally certified as a class

 for settlement purposes only;

                   (b)   Whether the Settlement should be approved as fair, reasonable and

 adequate and the Action dismissed with prejudice as to the Settling Defendants

 pursuant to the terms of the Settlement Agreement;

                   (c)   Whether the Notice Plan (Exhibits D, E, and I) to the Settlement

 Agreement: (1) constitutes the best practicable notice; (ii) constitutes notice that is

 reasonably calculated, under the circumstances, to apprise Settlement Class Members

 of (1) the pendency of the Action, (2) the effect of the Settlement Agreement,

 including the release defined and described in Section XIII thereof (the “Release”),

 (3) their right to object to the Settlement, the Plan of Allocation (Exhibit F), the

 application by Plaintiffs’ Counsel for an award of attorneys’ fees and expenses

 (“Attorneys’ Fee and Expense Award”) andlor service awards to the named Plaintiffs

 (“Service Awards”), (4) their right to exclude themselves from the Settlement Class as


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 described in Section 11 below, and (5) their right to appear at the Fairness Hearing;

 (iii) was reasonable and constitutes due, adequate and sufficient notice to persons

 entitled to notice; and (iv) meets all applicable requirements of the Federal Rules of

 Civil Procedure, the United States Constitution (including the Due Process Clause),

 the Rules of this Court and any other applicable law;

               (d)    Whether Plaintiffs and Plaintiffs’ Counsel have adequately

 represented the Settlement Class for purposes of entering into and implementing the

 Settlement Agreement;

               (e)    Whether Settlement Class Members, on behalf of themselves, their

 respective current, former or future, direct or indirect parents, subsidiaries, affiliates,

 directors, officers, principals, employees, agents, attorneys, executors, administrators,

 beneficiaries, predecessors, successors, heirs and assigns should be bound by the

 Release and the judgment reduction provisions of Section XIII of the Settlement

 Agreement;

               (f)    Whether Settlement Class Members, on behalf ofthemselves, their

 respective current, former or future, direct or indirect parents, subsidiaries, affiliates,

 directors, officers, principals, employees, agents, attorneys, executors, administrators,

 beneficiaries, predecessors, successors, heirs and assigns should be permanently

 barred, enjoined and restrained from filing, commencing, prosecuting, continuing to

 prosecute, intervening in, participating in (as Settlement Class Members or otherwise)


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 or receiving any benefits or other relief from any other action, arbitration or other

 proceeding brought against any or all of the Released Defendants defined in

  Section 11.33 of the Settlement Agreement that is based upon, arises out of or relates

 to any of the Released Claims defined in Section 11.32 of the Settlement Agreement;

               (g)   Whether a Bar Order as described in Section XIII.B.2 of the

 Settlement Agreement should be entered that, among other things, provides that

 (i) any and all persons and entities are permanently barred, enjoined and restrained

 from commencing, prosecuting, continuing to prosecute or asserting any claim

 (including any claim for indemnification, contribution or attorneys’ fees) against any

 of the Released Defendants where the alleged injury to the barred person or entity is

 based upon that person’s or entity’s alleged liability to the Settlement Class or any of

 the Settlement Class Members, (ii) any and all Released Defendants are permanently

 barred, enjoined and restrained from commencing, prosecuting, continuing to

 prosecute or asserting any claim (including any claim for indemnification or

 contribution) against a person barred by subsection (g)(i) of this Section where the

 Released Defendant’s alleged injury is based solely upon the Released Defendants’

 alleged liability to the Settlement Class or any of the Settlement Class Members other

 than with respect to claims related to coverage under Contracts of Insurance issued by

 Released Defendants to Plaintiffs or any Settlement Class Members, and (iii) there

 shall be a judgment-reduction credit reducing any judgment that the Settlement Class


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 or any of the Settlement Class Members might obtain against any barred person or

 entity in connection with any of the Released Claims by the greater of the settlement

 amount paid by the Settling Defendants or an amount that corresponds to the Settling

 Defendants’ percentage of responsibility for the loss to the Settlement Class or any of

 the Settlement Class Members; and

                  (h)   Whether Plaintiffs’ Counsel’s application for an Attorneys’ Fee

 and Expense Award and for Service Awards should be approved.

 The Court reserves the right to continue the Fairness Hearing without further written

 notice.

             5.   Notice to Settlement Class Members.         Notice of the Action, the

 Settlement Agreement, the Settlement and the Fairness Hearing shall be provided to

 Settlement Class Members as follows:

                  (a)   The names and/or addresses ofthe Settlement Class Members shall

 be obtained, to the extent reasonably available, from an electronic search of the

 underwriting systems of the Settling Defendants within thirty (30) calendar days of

 this Order.

                  (5)   Each Settling Defendant shall write to those coverholders acting on

 its behalf that wrote a majority of the Settling Defendant’s business under binding

 authorities during the five-year period from October 1,2013 to September 30, 2018.

 Each Settling Defendant shall request that these coverholders provide to the Claims


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 Administrator, to the extent reasonably available, names and addresses of

 policyholders to which insurance policies were issued on behalf of the Settling

 Defendant under binding authorities for this five-year period.

              (c)   The identity and/or addresses for certain of the Settlement Class

 Members will not be identifiable through reasonable effort due to data and collection

 issues with the records of the Settling Defendants. Therefore, to inform Settlement

 Class Members of their rights relating to the Settlement, the Claims Administrator (as

 defined in Section 7, below) will undertake the additional steps set forth in sub

 sections (d) and (e) below to notify the Settlement Class Members of the Settlement.

              (d)   Following the Claims Administrator’s receipt from the Settling

 Defendants of the reasonably available names and/or addresses of Settlement Class

 Members, the Claims Administrator shall conduct searches of the names that do not

 have addresses by searching through databases available to it, including vendor

 databases and databases associated with other settlements in this case. Then the

 Claims Administrator shall provide Notice of the Action, the Settlement Agreement,

 notice of the Settlement and the Fairness Hearing to Settlement Class Members via:

 (1) the mailing of the Summary Notice, in the form annexed as Exhibit E to the

 Settlement Agreement (the “Summary Notice”), to those Settlement Class Members

 for which addresses may be obtained through reasonable efforts identified above on or

 before       17, 2019; (2) posting of the Long-form Notice, substantially in the form

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  annexed as Exhibit D to the Settlement Agreement, and the Summary Notice at

  www.SyndicateSettlement.com, a website dedicated to this Settlement on or before

    Ov’€      I]-   ,   2019; (3) publication of the Summary Notice in selected media as set

  forth in Exhibit I to the Settlement Agreement on or before IUt\e_2 2019; and

  (4) digital notice as described in Exhibit I to the Settlement Agreement from the

  Notice Date through the claims deadline (the “Digital Notice”). All of the

  dissemination dates described above shall be within specified time periods or as close

  thereto as reasonably possible.

                        (e)   Any mailed Summary Notice returned to the Claims Administrator

  with an updated address shall be re-mailed to the addressee as soon as practicable.

                        (f)   No later than ten (10) calendar days following the entry of this

  Order (“Notice Date”), Co-Lead Counsel shall cause the Long-form Notice, Claim

  Form and a link to the Settlement Website to be posted on their respective firm

  websites.

                        (g)   At or before the Fairness Hearing, Co-Lead Counsel and/or the

  Claims Administrator shall file with the Court proof of (1) mailing of the Summary

  Notice, (ii) publication of the Summary Notice, (iii) posting of the Long-form Notice

  on the website www.SyndicateSettlement.com and on Co-Lead Counsel’s firms’

  websites, and (iv) implementation of the Digital Notice.




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              6.   Findings Concerning Notice. The Court finds that notice given in the

  form and manner set forth in Section 5, above, is the best practicable notice and is

  reasonably calculated, under the circumstances, to apprise Settlement Class Members

  of (a) the Action, (b) the Settlement Agreement, (c) the Settlement, (d) their right to

  object to the Settlement, the Plan of Allocation, the application for an Attorneys’ Fee

  and Expense Award or Service Awards, (e) their right to be heard in connection

  therewith at the Fairness Hearing, and (f) their right to exclude themselves from the

  Settlement Class. The Court further finds that the Summary Notice, the Long-form

  Notice, and the Digital Notice, respectively, are written simply and plainly and will be

  readily understandable by Settlement Class Members and that the Summary Notice,

  the Long Form Notice, and the Digital Notice, and the manner of disseminating the

  Notices are reasonable, constitute due, adequate and sufficient notice to all persons or

  entities entitled to be provided with notice, and meet the requirements of the Federal

  Rules of Civil Procedure (including Fed. R. Civ. P. 23(c)(2) and (e)), the United States

  Constitution (including the Due Process Clause), the Rules of this Court and any other

  applicable law.

              7.   Claims Administrator. The Court appoints A.B. Data, Ltd. as the

  claims administrator who will act on behalf of the Court for the purpose of assisting in

  the implementation of the Settlement.




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              8.    Attorneys’ Fee and Expense Award.

              Plaintiffs’ Counsel may file an application for an Attorneys’ Fee and Expense

  Award and for Service Awards no later than thirty-five (35) calendar days prior to the

  fairness Hearing.

              9.    Settling Defendants’ Communications with Settlement Class.

              The Settling Defendants may communicate with a Settlement Class Member

  who is a current, past, or prospective insured regarding a purchase or renewal of an

  insurance product. The Settling Defendants may communicate with a Settlement Class

  Member as may be otherwise necessary to conduct its normal business. If any

  Settlement Class Member has a question about the Settlement, the Settling Defendants

  agree to refer him, her, or it to the Claims Administrator or Co-Lead Counsel.

              10.   Claim Forms.

              Settlement Class Members who wish to participate in the Settlement shall

  complete and submit Claim Forms in accordance with the instructions contained

  therein. Unless the Court orders otherwise, all Claim Forms must be postmarked or

  submitted electronically no later than one hundred seventy-five (175) calendar days

  from entry of this Order. Any Settlement Class Member who does not timely submit a

  Claim Form within the time provided for, shall be barred from sharing in the

  distribution of the proceeds of the Settlement Fund, unless otherwise ordered by the

  Court. Notwithstanding the foregoing, Co-Lead Counsel may, in their discretion,


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  accept late-submitted claims for processing by the Claims Administrator so long as

  distribution of the Net Settlement Fund to Authorized Claimants is not materially

  delayed thereby.

              11.   Requests for Exclusion from the Settlement Class.

                    (a)   Any Settlement Class Member who wishes to be excluded from the

  Settlement Class must mail by first class mail with proper postage, or deliver, a

  written request for exclusion, postmarked or delivered to the attention of the Claims

  Administrator no later than twenty-one (21) calendar days before the Fairness

  Hearing, or other deadline ordered by the Court. A list of the persons and entities

  requesting exclusion shall be provided by the Claims Administrator to the Settling

  Parties and to the Court no later than fourteen (14) calendar days before the Fairness

  Hearing.

                    (b)   A request for exclusion must include the Settlement Class

  Member’s: (i) name, (ii) address, (iii) telephone number, (iv) email address (if

  applicable), and (v) information about each Contract of Insurance related to the

  Settlement, including (1) the insurer that issued the Contract of Insurance, (2) policy

  number, (3) face amount of each Contract of Insurance, (4) annual premium, and (5)

  effective date and expiration date for each policy.




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                    (c)   Any Settlement Class Member who does not submit a timely

  request for exclusion in accordance with the above requirements shall be bound by the

  Release and by all proceedings, orders and judgments in this Action.

              12.   Objections to the Settlement, Plan of Allocation, Attorneys’ Fee and

  Expense Award or Service Awards.

                    (a)   Any Settlement Class Members that wish to object to the fairness,

  reasonableness or adequacy of the Settlement, the Plan of Allocation, any term(s) of

  the Settlement Agreement or to the application for an Attorneys’ Fee and Expense

  Award or Service Awards must serve on Co-Lead Counsel and respective counsel for

  the Settling Defendants and file with the Court a statement ofhis, her or its objection;

  provided that such statement of objection must be received no later than twenty-one

  (21) calendar days before the Fairness Hearing or as the Court may otherwise direct.

                    (b)   The statement of objection shall provide evidence of the

  Settlement Class Member’s membership in the Settlement Class and shall state the

  specific reason(s), if any, for each such objection, including any legal support and

  evidence that the Settlement Class Member wishes to introduce in support of such

  objection.

                    (c)   Settlement Class Members may file an objection on his, her or its

  own or through an attorney hired at his, her or its own expense. If the Settlement

  Class Member hires an attorney in connection with filing an objection to the


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  Settlement, the attorney must serve on Co-Lead Counsel and respective counsel for

  the Settling Defendants, and file with the Court a notice of appearance;provided that

  any such notice of appearance must be received by Co-Lead Counsel and respective

  counsel for the Settling Defendants no later than twenty-one (21) calendar days before

  the Fairness Hearing, or as the Court may otherwise direct.

                    (d)   Only a Settlement Class Member that files and serves a written

  objection pursuant to this Section 12 may appear at the Fairness Hearing, either in

  person or through an attorney hired at the Settlement Class Member’s own expense, to

  object to the fairness, reasonableness or adequacy of(i) the Settlement, (ii) the Plan of

  Allocation, (iii) any term of the Settlement Agreement, or (iv) the application for an

  Attorneys’ Fee and Expense Award or Service Awards.

                    (e)   Any Settlement Class Member that fails to comply with any of the

  provisions of this Section 12 shall waive and forfeit any and all rights that it may

  otherwise have to appear separately at the Fairness Hearing andlor to object to the

  Settlement, and shall be bound by all of the terms of the Settlement Agreement and by

  all proceedings, orders and judgments in this Action.

              13.   Filing of Opening and Reply Briefs.

              All opening briefs and supporting documents in support of the Settlement, the

  Plan of Allocation, and Plaintiffs’ Counsel’s application for an Attorneys’ Fees and

  Expense Award and for Service Awards shall be filed thirty-five (35) calendar days


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  prior to the Fairness Hearing. Replies to any objections shall be filed seven (7)

  calendar days prior to the Fairness Hearing.

              14.   Preliminary Injunctions.

              All Settlement Class Members, along with their respective current, former or

  future, direct and indirect parents, subsidiaries, affiliates, directors, officers,

  principals, employees, agents, attorneys, executors, administrators, beneficiaries,

  predecessors, successors, heirs and assigns, are preliminarily enjoined from filing,

  commencing, prosecuting, continuing to prosecute, intervening in, participating in (as

  class members or otherwise) or receiving any benefits or other relief from any other

  action, arbitration or administrative, regulatory or other proceeding against any one or

  more of the Released Defendants that is based upon, arises out of or relates in any way

  to any of the Released Claims defined in Section 11.32 of the Settlement Agreement.

  All persons or entities are preliminarily enjoined from filing, commencing,

  prosecuting or continuing to prosecute any other putative class action against any or

  all such Released Defendants on behalf of any of the Settlement Class Members ifthat

  action is based upon, arises out of or relates in any way to any of the Released Claims

  defined in Section 11.32 of the Settlement Agreement. The Court finds that issuance

  of this preliminary injunction is necessary and appropriate in aid of the Court’s

 jurisdiction over this Action and the Settlement.




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              15.   Binding Effect.

              All Settlement Class Members, along with their respective current, former or

  future, direct and indirect parents, subsidiaries, affiliates, directors, officers,

  principals, employees, agents, attorneys, executors, administrators, beneficiaries,

  predecessors, successors, heirs and assigns, will be bound by all proceedings, orders

  and judgments relating to the Settlement Agreement and the Settlement, even if such

  Settlement Class Members have previously initiated or subsequently initiate litigation,

  arbitration or other proceedings, or have any other claim against any or all of the

  Released Defendants relating to any of the Released Claims.

              16.   Termination of the Settlement.

                    (a)   This Order shall become null and void, and shall be without

  prejudice to the rights of the Settling Parties, each of which shall be restored to the

  position it occupied immediately before the Court entered this Order, if: (i) the

  Settlement is not finally approved by the Court, or does not become final due to a

  ruling from any appellate court; or (ii) as to any Settling Parties for whom the

  Settlement Agreement is terminated, the Settlement Agreement does not become

  effective in accordance with its terms or is otherwise terminated.

                    (b)   In the event that this Order shall become null and void pursuant to

  this Section 16, the Settlement Agreement and this Order shall be of no force or effect

  as to any Settling Party for whom Section 16 of this Order applies and shall not be


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  construed or used as an admission, concession or declaration by or against any of the

  Settling Parties of any fault, wrongdoing, breach or liability, or as a waiver by any of

  the Settling Parties of any claims or defenses, including, but not limited to, any

  argument against the certification of a plaintiff class in the Action for any purpose

  other than settlement. Notwithstanding this Section 16, the terms of Sections XVIII.5

  and XJX5 of the Settlement Agreement shall not be affected if this Order becomes



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                                          THE HONORABLE CLAIRE C. CECCHI
                                          UNITED STATES DISTRICT JUDGE




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